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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

URVASHI BHAGAT,

Plaintiff,

Civil Action No. 1:20-cv-1515

THE UNITED STATES PATENT AND
TRADEMARK OFFICE, ET AL.,

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Defendants.

MEMORANDUM OPINION

 

THIS MATTER comes before the Court on Defendant’s Motion
for Summary Judgment pursuant to Federal Rule of Civil Procedure
56 and Plaintiff's Motion to Strike Defendant’s Motion for
Summary Judgement.

The Court first addresses Plaintiff's Motion to Strike
Defendant’s Motion for Summary Judgement or Stay Briefing of the
Motion Pending the Outcome of Plaintiff's Appeal. The Motion for
Summary Judgement is not premature. Plaintiff has had over four
months to conduct discovery and has used that time to conduct
her discovery. The Motion to Strike should be denied.

The Fourth Circuit’s February 23, 2023 Order that
consolidated Plaintiff’s appeals also dismissed as moot
Plaintiff's Motion for a Stay of the District Court proceedings.

This Court finds Plaintiff has failed to carry the burden to
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support a stay pending interlocutory appeal of discovery
matters.

Plaintiff is the inventor of the United States Patent
Application No. 13/877,847 (the “Application”). The Application
describes nutritional formulations as supplements, meal
components, or meals, that may be administered in any orally
acceptable form, including, capsules, tablets, liquid
formulations, or whole foods. This includes specifying that the
nutritional formulation may comprise one or more nuts, including
almonds, and that nuts are a source of omega-6 fatty acids,
antioxidants, and polyphenols. The Application discusses
administering the formulations at various frequencies including
one to three times a day.

The Application also includes that different formulations
may be packaged together or in single units and in different
types of packaging including in a gelatinous case, a vial, a
bottle, a pouch or a foil, or plastic or card-board box. It
further states that formulations may be marked to indicate the
intended consumer, the frequency of consumption, the suitability
for consumption according to a general diet plan, or the maximum
amounts for average daily consumption.

There are “method of using” claims included in the
Application. This includes Claim 88 which recites steps to

administer a dosage to an individual selected from a diet cohort
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that is based on gender, age, genetic profile, family history,
climactic temperature, or medical condition. Claims 97 and 116
relate to methods of treatment of either unspecified medical
conditions or diseases, or any of a long list of widely
divergent conditions and diseases, through administering
nutritional formulations. One of the examples included in the
Application is a subject given a composition that included a
combination of vegetable oils, nuts, and seeds. Claim 99 relates
to methods of preparing a product comprising nutritional
formulations, including the steps of determining the
individual’s diet cohort and selecting and preparing at least
one formulation that provides 1 to 40 g of omega-6 fatty acids,
25 mg to 10 g of antioxidants, and greater than 5 mg of
polyphenols.

However, none of the Application’s method claims include
tailoring the nutrient dosages in the product to the diet cohort
or restricting the total daily intake of any of the claimed
nutrients.

Claim 112 deals with a computer system to implement the
method of Claim 99 and recites a system that outputs a
nutritional plan for an individual based on their dietary
preferences and dietary guidelines.

The United States Patent and Trademark'’s Patent Trial and

Appeal Board (the “Board”) affirmed the rejection of the

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Plaintiff's Application claims because they were obvious in
light of numerous past expert studies and disclosures. In
particular, the Board used a work by inventor Claudia R. Morris,
US Published Patent Application Number 2008/0213239 Al
(hereinafter “Morris”), which discloses preparing and
administering dietary formulations comprising omega-6 fatty
acids and Vitamin E to children and adults for treating various
conditions such as cardiovascular disease. The formulations may
be in the form of tablets, capsules, food bars, or drinks.
Morris discloses that the formulations comprise omega-6 fatty
acids, such as linoleic acid, in dosages and amounts overlapping
the dosages in Plaintiff’s claims. Morris shows that the
formulations comprise from about 50 mg to about 500 mg omega-6
fatty acids that may be administered once, twice, or three times
daily, which would equal a dosage ranging from 50 mg to 1,500 mg
of omega-6 fatty acids a day. There is further overlap where
Morris shows that the formulation comprises Vitamin E in amounts
and dosages that overlap the Plaintiff's claimed dosages.

The Board further found that Morris discloses packaged
formulations comprising omega-6 fatty acids, Vitamin E, and
polyphenols. Morris also discloses dosages of omega-6 and
Vitamin E overlapping the claimed ranges. The Board determined
the claimed dosages were obvious due to Morris’s disclosure that

dosages are a result-effective variable and may be optimized for

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an individual. Morris also discusses preparing formulations
based on an individual’s age, weight, genetic makeup, etc.,
which equates to Plaintiff's Claim 99 limitation of preparing a
formulation based on the diet cohort of an individual.

The only difference the Board found between Morris and the
Plaintiff's claimed formulation was an explicit disclosure of
using nutrients from different sources. However, this would have
been obvious in light of another expert's teachings of oil
blends from different sources.

Plaintiff brought this suit pursuant to 35 U.S.C. § 145 the
Board affirmed the rejection of all pending claims of
Plaintiff's Application.

A Section 145 appeal is a hybrid action because it is
partially an appeal from an administrative body and partially a
new evidentiary proceeding. See Hyatt v. Kappos, 625 F.3d 1320,
1322 (Fed. Cir. 2010); Halozyme, Inc. v. Iancu, 320 F. Supp. 3d
788, 801-02 (E.D. Va. 2018) (Hilton, J.). New evidence may be
presented but the Board’s decision remains at the center of the
case. Hyatt, 625 F.3d at 1322. When a party presents new evidence
not previously before the Board, the court makes a de novo
finding on any disputed questions of fact. Kappos v. Hyatt, 566
U.S. 431, 433- 434 (2012). The issue of patent eligibility is a

question of law for the court.
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Under Federal Rule of Civil Procedure 56, a court should grant
summary judgment if the pleadings and evidence show that there is
no genuine dispute as to any material fact and that the moving
party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(c); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). In

 

reviewing a motion for summary judgment, the court views the facts
in the light most favorable to the non-moving party. See Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Once a motion

 

for summary judgment is properly made, the opposing party has the
burden to show that a genuine dispute of material fact exists. See
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
586-87 (1986).

The Court finds there are no issues of material fact as to
any of Plaintiff's claims and their patent ineligibility under
35 U.S.C. §§ 101 and 103.

The two-step framework for determining whether claims that
are within a statutory category nevertheless fall within a
patent-ineligible exception, is set out by the Supreme Court in

Alice Corp. Pty. Ltd.v. CLS Bank Int’1l, 573 U.S. 208 (2014).

 

Step one is “whether the claims at issue are directed at one of
[the] patent-ineligible concepts.” Id. at 217. The patent-
ineligible concepts include laws of nature, natural phenomena,
and abstract ideas. If claims are directed at one of the patent-

ineligible concepts, then the court moves to step two and
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considers the elements of each claim “both individually and ‘as
an ordered combination’ to determine whether the additional
elements ‘transform the nature of the claim’ into a patent-
eligible application.” Id. at 217-218.

Each of Plaintiff's claims of the Application at issue deal
with products of nature or abstract ideas that are patent
ineligible under 35 U.S.C. § 101.

Plaintiff's claims 82-89, 91-104, 107-110, and 113-120 of
the Application contain a recitation of the combination of
nutrients naturally present in almonds and thus are a natural
product. Further, the claims do not have any limitations that
transform the natural product into patent-eligible subject
matter.

Independent claims 82, 99, 115, and 116 recite nutritional
formulations with a combination of nutrients in various
specified dosages. These claimed nutrients are naturally present
in almonds, making the claims about a natural product. Since
almonds contain all of the claimed nutrients, the claims do not
recite a product with any markedly different characteristics
from those found in nature.

The court begins with step one to determine if the claims
fit into a patent-ineligible statutory category. Independent
claim 82 is a product claim, and its patentability depends on

the product. The claim’s recitation of the nutrients coming from
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an intermixture process using different sources does not change
the conclusion that it is a natural product. The patentability
of a product claim depends on the product and not the process of
making it.

Independent claim 82's dependent claims 95, 103, 109, and
110 clarify that the independent claim’s formulation encompass
nuts. Dependent claims 88, 91, 96-98, 102, and 104 do not make
any attempt to further limit the nutrient composition. Dependent
claims 83, 84, 100, and 115-118 merely recite the same nutrients
which almonds comprise. Also, almonds contain the dosages of
omega-6 fatty acids recited in claims 92, 107, 113, and 119, and
the polyphenol dosage recited in claim 120. Almonds further
comprise phytosterols as required by claim 85, in the dosages
recited in claims 86, 93, 108, and 114.

Claim 94's requirement that one formulation provide omega-6
fatty acids in a dosage less than 1 g, but that a plurality
collectively provide 1 to 40 g of omega-6 merely encompasses a
product of 100 g of almonds broken into 5 g increments. Almonds
also contain the phytochemicals, lipids, antioxidants, vitamins,
minerals, and fiber recited in claims 87 and 101. Finally, claim
89 encompasses a mixture of one or more food items, which
includes a mixture of 100 g of almonds with other nuts.

Having determined that the product and method claims of the

Application are about a natural product under the first step of
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the Alice inquiry, the court now moves to step 2 to determine if
the additional claim elements transform the natural product into
a patent-eligible application. Transformation of a natural
product into eligible subject matter requires the additional
features be more than “well-known understood, routine,
conventional activit[ies].” See Alice at 225.

Plaintiff’s independent product claim 82, simply recites
well-known routing and conventional activity of packaging and
labeling the formulations. This includes basic packaging such as
in “a vial, a bottle, a pouch or a foil, or plastic and/or card-
board box, and the like.” This type of basic, common-place
packaging is a conventional activity.

Claim 82's dependent claims, 91 and 95, fail to add any
transformative claim limitations. Claim 91 limits the
formulations into particular forms like powder. Unfortunately,
it is well known that nuts can be crushed into a powder. Claim
95 recites that the formulation is in a “kit” which is nothing
more than conventional packaging of the formulation.

Claims 83-87, 89, 92-94, 113-114, 117, and 119-120 are also
dependent claims from claim 82, but do not recite any
limitations beyond the natural product itself or additional

natural products.
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Independent claim 115 is also directed to just the natural
product. Therefore, all of the product claims of the Application
are patent ineligible.

Claims 88, 96-98, and 116 recite methods of administering
the natural product. Beyond the natural product itself, the only
limitation recited in claim 88 is the step of administering to
an individual that belongs to a specified diet cohort.
Administering, which includes eating or feeding, almonds to an
individual is a conventional activity. The “diet cohort”
limitation just identifies the intended recipient of the natural
product and does so in a generic manner that all humans would
qualify. Claims 96-98 and 116 are methods of treating either
unspecified medical conditions or a long list of widely
divergent conditions by administering the natural product and
administering is still a routine and conventional activity.

Independent claim 99 and its dependent claims recite
methods of preparing nutritional formulations for an individual
which include “determining,” “selecting,” and “preparing” steps.
Each step, however, is insufficient to transform the naturally-
occurring nutritional formulation, almonds, into patent-eligible
subject matter. First, the “determining” step simply groups the
individuals into diet cohorts, which the Application explains
broadly includes a grouping based on food preference, dietary

habits, age, or gender. Grouping individuals on the basis of

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these generic and broad categories is well-known and
conventional. Second, the “selecting and preparing” step simply
links the choice of nutritional formulation to the grouping. The
additional limitations of claim 99 are therefore nothing more
than post-solution activities related to preparing a natural
product for consumption that do not transform the claims from
being directed to the ineligible natural product.

Dependent claims 102, 104, 109, and 110 recite more
limitations on the method of preparing but are not directed to
anything more than the natural product itself.

Claim 112 deals with a computer system that implements the
method of preparing the product from claim 99. It takes dietary
preferences and guidelines to generate a nutrition program. This
is a type of meal planning that is a method for organizing human
activity and thus an abstract idea. Further, the additional
elements given in claim 112 only add conventional computer
components and are not sufficient to transform the claimed
computer system into a patent-eligible invention.

Further showing the Application’s patent-ineligibility,
Plaintiff‘s claims of the Application are obvious under 35
U.S.C. § 103.

A claim is unpatentable under § 103 if the differences
between the claims and the prior art would have been obvious to

a person of ordinary skill in the art at the time of the

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invention. A presumption of obviousness exists if the claims
recite a range that overlap with what is disclosed in the prior

art. Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed.

 

Cir. 2006).Here, the prior art teaches all the claimed nutrients
in dosages overlapping the claimed ranges, thereby establishing
such a presumption.

As the Board correctly found, claims 82-89, 91-104, 107-
110, and 113-120 of the Application would have been obvious
given the teachings of Morris and inventors Joshua C. Anthony et
al., US Published Patent Application Number 2007/0166411 Al
(hereinafter “Anthony”). The Board treated claim 82 as
representative, finding Plaintiff did not separately argue the
patentability of any dependent claims as required under 37
C.F.R. § 41.37(c) (1) (iv). As the party that “seeks to change an
administrative result,” Plaintiff bears the “burden” of showing
error in that determination. Cal. Rsch. Corp. v. Ladd, 356 F.2d
813, 819 (D.C. Cir. 1966).

The Board further found that Morris teaches preparing and
administering a packaged dietary formulation comprising omega-6
fatty acids, Vitamin E, and polyphenols. It also found that
Morris teaches dosages of omega-6 fatty acids and Vitamin E
overlapping the claimed range.

As Defendants’ expert witness Dr. William S. Harris

explained, in addition to being obvious over Morris and Anthony,

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the benefits of consuming the claimed nutrients were well-known
in the art as of 2010. This is reflected in an additional three
combinations of references that also render claims 82-89, 91-
104, 107- 110, and 113-120 obvious. These additional reference
combinations disclose the claimed omega-6 fatty acid,
antioxidant, and polyphenol dosages that have been the focus of
Plaintiff's arguments throughout this proceeding. Plaintiff has
not argued with particularity why this prior art does not
disclose any additional limitations in the dependent claims.

Plaintiff asserts that Morris teaches away because its
examples contain no or low amounts of omega-6 fatty acids and
its antioxidant range. However, Plaintiff fails to establish
unexpected results to rebut the presumption of obviousness based
on the overlapping ranges of the prior art and Plaintiff has not
shown any additional teaching away to rebut the presumption of
obviousness.

Lastly, Plaintiff attempts to argue the prior art is not
relevant because it does not address the problem solved by her
Application. However, the prior art is from the same field of
endeavor in nutritional formulations as the Application and
therefore is relevant art in this case.

For the foregoing reasons, Defendant’s Motion for Summary
Judgment should be granted.

An appropriate Order shall issue.

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Clee dhe. Pay, fbn,
Alexandria, Virginia CLAUDE M. HILTON

March Gb, 2023 UNITED STATES DISTRICT JUDGE

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